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DEFENDANT STATUS SHEET (One for each defendant)

I. CASE STATUS

NAME OF DEFENDANT L°uis O"g UsAO# 2017R00178

 

;/ MAGIsTRATE's No. MJ17'304 _/ DOCKET No. (If superseding Indicrmem) cR
,********************************************************************************************************************************

II. CUSTODIAL STATUS

HAs DEFENDANT HAD INITlAL APPEARANCE IN THIs cAsE? X_/ yes _/ no
IF YEs; l
L/ DEFENDANT HAS BEEN RELEASED oN THE FOLLOWING coNDmoNs.- See bond °rder
_/' A DETENTIoN HEARING HAS BEEN scHEDULED FOR;
_/ A DETENTION ORDER HAS BEEN ENTERED.

*** _/ TEMPORARY DETENTION

 

***

 

wm _/ PERMANENT DETENTION

_/ IF THE DEFENDANT HAS HAD INITlAL APPEARANCE IN ANOTHER DISTRICT, THE ABOVE RELEASE ON
CONDITIONS OR DETENTION ORDER WAS ENTERED IN THE _ DISTRICT OF AND THE
DEFENDANT'S FIRST APPEARANCE IN THIS DISTRICT IS EXPECTED TO BE/HAS BEEN SET FOR

(Date)

_/ DEFENDANT ls IN cUsTODY ON 0THER cHARGEs;
_/ SERVING A FEDERAL sENTENCE AT
_/ PENDING FEDERAL cHARGEs IN THE ' DISTRICT OF
_/ PENDING sTATE CHARGES AT

 

 

 

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_ III. ARRAIGNMENT
_/ WARRANT TO ISSUE. (IF SO, PLEASE COMPLETE REVERSE)

 

 

_/ sUMMoNs TO BE IssUED FOR APPEARANCE 0N cALENDAR.' (DEFENDANT’$ ADDREss R'EQUIRED.)
a ate
DEFENDANT's ADDRESS:
_)f_/ LETTER To DEFENSE COUNSEL FOR APPEARANCE 0N T"“'Sday‘°“°‘”‘"g ‘"‘”°'"‘e"* CALENDAR.
(Date)

DEFENsE ATTORNEY's NAME; Greg Murphy
DEFENSE ATTORNEY’S ADDRES S: 1601 Fiflh Ave., Suite 700, Seaft|e, WA 98101

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IV. CONDITIONS OF RELEASE

_/ NOT PREVIOUSLY SET, SHOULD BE:

 

le.g., P.R.; BAIL (llstmg condltlons); D!_;TENTION]
£/ PREVIOUSLY SET, SHOULD BE:

§_/ CONTINUE CONDITIONS OF RELEASE
__/ CONTINUE DETENTION
_/ MODIFIED AS FOLLOWS (state reasons for modifying):

 

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HAS THE FPD represented any subject or Witness in this case? ___/ Yes §__/ No

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THE ESTIMATED TRIAL TIME IS 7 TRIAL DAYS. August 9' 2017

 

(Date b orm tllled out)

(Revised June 2000)

